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                               UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MONTANA
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In re:                                                )
DONNA B. MOHLER and                                   )        Case No. 19-60025-7
SEAN M. MOHLER,                                       )
                                                      )
                                Debtors.              )
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ORDER AUTHORIZING SHORT SALE OF REAL PROPERTY FREE AND CLEAR OF
     LIENS AND INTERESTS PURSUANT TO 11 U.S.C. § 362 AND CARVE OUT
         AGREEMENT BETWEEN SECURED LENDER AND THE ESTATE
______________________________________________________________________________

         At Butte in said District this 12th day of August, 2019.

         Before the Court is the Trustee's Motion to Approve a Short Sale of Real Property Free

and Clear of Liens and Interests Pursuant to 11 U.S.C. § 363 and Carve Out Agreement Between

Secured Lender and the Estate. Notice of the Trustee’s proposed short sale was provided to

Debtors and all interested parties. With good cause appearing, the Court hereby finds and orders

as follows:

         IT IS ORDERED the Trustee's Motion to Approve a Short Sale of Property Free and

Clear of Liens and Interests Pursuant to 11 U.S.C. § 363 and Carve Out Agreement Between

Secured Lender and the Estate is hereby approved and the Trustee is authorized to sell the below

described real property of this estate, free and clear of liens, for the cash sum of THREE

HUNDRED SEVENTEEN THOUSAND FIVE HUNDRED DOLLARS ($317,500.00) to Dylan

Anderson and McKenzie Horton, to wit:

         THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE COUNTY OF
         CASCADE, STATE OF MONTANA, AND IS DESCRIBED AS FOLLOWS:

         LOT 8, BLOCK 2, WATERTOWER PARK ADDITION, TO THE CITY OF GREAT
         FALLS, LOCATED IN THE NE1/4NE1/4 OF SECTION 36, TOWNSHIP 21 NORTH,
         RANGE 3 EAST, PMM, CASCADE COUNTY, MONTANA, ACCORDING TO THE
         PLAT NO. P-2009-0000007, FILED MARCH 12, 2009, RECORDS OF CASCADE
         COUNTY, MONTANA.

         COMMONLY KNOWN AS 3305 14TH ST NE GREAT FALLS, MT 59404.
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       IT IS FURTHER ORDERED that the Carve-Out Agreement between Trustee and Mr.

Cooper, the Secured Creditor, is hereby approved, and $15,875.00 of the sales proceeds will be

paid to the bankruptcy estate to be paid to unsecured creditors.

       IT IS FURTHER ORDERED that Mr. Cooper will pay at closing all closing costs,

outstanding real estate taxes, including any prorated amounts due for the current tax year; and the

carve out to the Trustee.

       IT IS FURTHER ORDERED that the sales proceeds will be paid by the closing agent,

Brightline Title, 5405 Cypress Center Drive, Suite 150, Tampa, FL 33609, on behalf of the

Trustee as follows: a) all normal and usual selling and closing costs, including the 6% realtor

commission to BK Global Real Estate Services (“BK Global”) and REMAX of Great Falls; b) all

outstanding taxes and real property assessments against the property; c) the carve-out of

$15,875.00 to the Trustee, d) the balance to the secured creditor Mr. Cooper.

       IT IS FURTHER ORDERED that (a) the 14 day stay pursuant to Rule 6004(h) is

waived, the sale order is enforceable immediately upon entry, and the Trustee is authorized to

close on the sale immediately upon entry of this Order; (b) the Trustee is authorized to take all

actions and execute all documents she deems reasonable, necessary and/or desirable to effectuate

the sale; (c) the court shall retain sole and exclusive personal subject matter jurisdiction to

implement, interpret and enforce the terms of the Motion and this Order; and (d) adjudicate all

claims, controversies and/or disputes arising from or related to the proposed sale.




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